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  IT IS ORDERED as set forth below:



  Date: June 2, 2021
                                                     ________________________________
                                                                 Paul Baisier
                                                         U.S. Bankruptcy Court Judge

  _______________________________________________________________

                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


IN RE:                                           )          CASE NO. 20-62473-PMB
                                                 )
ASCENSION AIR MANAGEMENT, INC.,                  )          CHAPTER 7
                                                 )
         Debtor.                                 )
                                                 )


   ORDER GRANTING TRUSTEE’S MOTION FOR AUTHORITY TO PAY BULLSEYE
          AUCTION & APPRAISAL, LLC COMMISSION AND EXPENSES

         On May 5, 2021, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the bankruptcy

estate (the “Estate”) of Ascension Air Management, Inc. filed Trustee’s Motion for Authority to Pay

Bullseye Auction & Appraisal, LLC Commission and Expenses [Doc. No. 58] (the “Motion”),

seeking authority to pay $25,150.00 in commission (5% of the gross sale price) and $500.00 in

expenses to Bullseye Auction and Appraisal, LLC resulting from the closing of the sale of that

certain Cirrus Design Corp SR22T, Serial No. 0636, Registration No. N928CS.

         On May 6, 2021, Trustee filed Notice of Pleading, Deadline to Object, and for Hearing

[Doc. No. 59] (the “Notice”) regarding the Motion, in accordance with General Order No. 24-



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2018. Counsel for Trustee certifies that he served the Notice on all requisite parties in interest on

May 6, 2021 [Doc. No. 60].

        The Notice provided notice of the opportunity to object whereupon a hearing would be held

on June 7, 2021 at 1:35 P.m., pursuant to the procedures set forth in General Order No. 24-2018. No

one filed an objection to the Motion prior to the objection deadline provided in the Notice.

        The Court having considered the Motion and all other matters of record, including the lack

of objection to the relief requested in the Motion, and, based on the forgoing, finding that no further

notice or hearing is necessary; and, the Court having found that good cause exists to grant the relief

requested in the Motion, it is hereby

        ORDERED that the Motion is GRANTED: The fees and expenses requested in the Motion

are APPROVED. It is further

        ORDERED that Trustee is hereby authorized to disburse funds from the Estate to Bullseye

Auction and Appraisal, LLC in the amount of $25,150.00 in commission (5% of the gross sale

price) and $500.00 in expenses as an administrative expenses of the estate. It is further

        ORDERED that this Court shall retain jurisdiction with respect to all matters arising from

or related to the implementation of this Order.

                                   [END OF THE DOCUMENT]

Prepared and presented by:

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